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      4   Attorney for Defendant
          BRANDON SAVALOJA
      5
      6
                                      UNITED STATES DISTRICT COURT
      7
                                    EASTERN DISTRICT OF CALIFORNIA
      8
      9
          UNITED STATES OF AMERICA                        ) Case No.: CR S-10-192-JAM
     10                                                   )
                         Plaintiff,                       ) STIPULATION AND ORDER
     11                                                   ) CONTINUING STATUS CONFERENCE
                 vs.                                      ) AND EXCLUDING TIME
     12                                                   )
          BRANDON SAVLOJA,                                )
     13                                                   )
                         Defendant                        )
     14                                                   )

     15
                 It is hereby stipulated and agreed to between the United States of America of America
     16
          through Assistant United States Attorney Daniel McConkie, and the defendant, BRANDON
     17
          SAVALOJA, by and through his counsel, Lindsay Anne Weston, that the status conference in
     18
          this matter currently scheduled for February 14, 2012, at 9:30 a.m. be continued to March 6,
     19
          2012, at 1:30 p.m.
     20
                 This continuance is requested by both parties. The parties are in negotiations to resolve
     21
          the matter by a plea agreement. The defense needs more time to supply the government with
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          additional documentation in order to reach a plea agreement. Further, it was just learned there is
     23
          a recorded statement of the defendant which the government is now seeking to obtain and which
     24
          needs to be reviewed by both parties.
     25
                 IT IS FURTHER STIPULATED that the period from February 14, 2012, through and
     26
          including March 6, 2012, be excluded in computing the time within which trial must commence
     27
          under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code
     28
          T4 (preparation of counsel), and that the ends of justice served in granting the continuance and


                                             [Summary of pleading] - 1

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      1   allowing the defendant further reasonable time to prepare and the parties to review recently
      2   discovered evidence, taking into account the exercise of due diligence, outweigh the best
      3   interests of the public and the defendant in a speedy trial.
      4   Dated: February 9, 2010                        Respectfully submitted,
      5                                                  /s/Lindsay Anne Weston
      6                                                  _____________________
                                                         LINDSAY ANNE WESTON
      7                                                  Attorney for Defendant
      8                                                  BRANDON SAVALOJA

      9   Dated: February 9, 2010                        BENJAMIN B. WAGNER
                                                         United States Attorney
     10
     11                                                  /s/ Daniel S. McConkie
                                                         ______________________
     12                                                  DANIEL S. MCCONKIE
                                                         Assistant United States Attorney
     13                                                  Attorney for the Plaintiff
     14
     15                                                 ORDER
     16
          IT IS SO ORDERED.
     17
          Dated: 2/10/2012                               /s/ John A. Mendez________
     18                                                  JOHN A. MENDEZ
                                                         United States District Judge
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                                              [Summary of pleading] - 2

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